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 1
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 6   Counsel for Plaintiffs
 7
 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                            OAKLAND DIVISION
11
12
13   ELRETHA PERKINS and LARONICA                   Case No. 3:22-cv-03455-JD
     JOHNSON, individually and on behalf of all
14
     others similarly situated,                     NOTICE OF CHANGE OF ADDRESS
15                                                  FOR GUSTAFSON GLUEK PLLC AND
                              Plaintiffs,           DENNIS STEWART
16    vs.
17
     WELLS FARGO, N.A., a Delaware
18   Corporation; WELLS FARGO HOME
     MORTGAGE, INC., a Delaware Corporation,
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20                            Defendants.

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                           NOTICE OF CHANGE OF ADDRESS
               Case 3:22-cv-03455-JD Document 27 Filed 08/04/22 Page 2 of 2




 1   TO: The Clerk of the Court and to All Parties and Counsel of Record:
 2          PLEASE TAKE NOTICE THAT attorney Dennis Stewart files this Notice of Change of
 3   Address and hereby notifies the Court and all parties that the law firm of Gustafson Gluek PLLC
 4   located at 600 B Street, 17th Floor, San Diego, CA 92101 has changed their address to:
 5
                                      GUSTAFSON GLUEK PLLC
 6                                    600 W. Broadway, Suite 3300
                                          San Diego, CA 92101
 7
            All pleadings, orders, notices, discovery, and other documents should be served on
 8
     counsel at:
 9                                    GUSTAFSON GLUEK PLLC
                                      600 W. Broadway, Suite 3300
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                                          San Diego, CA 92101
11                                     Telephone: (619) 595-3299
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13
14   Dated: August 4, 2022                               Respectfully submitted,
15                                                       /s/Dennis Stewart
16                                                       Dennis Stewart (SBN 99152)
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                                                         Counsel for Plaintiffs
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     ______________________________________________________________________________
                            NOTICE OF CHANGE OF ADDRESS
